      Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08     Page 1 of 13




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

VERNA KEARNEY,                             :
         Plaintiff,                        :
                                           :
v.                                         :              3:07-cv-01251 (WWE)
                                           :
CITY OF BRIDGEPORT POLICE                  :
DEPARTMENT; CHIEF BRYAN NORWOOD, :
in his individual and official capacities; :
LIEUTENANT DAVID DANIELS, in his           :
individual and official capacities,        :
               Defendants.                 :

                           MEMORANDUM OF DECISION ON
                          DEFENDANTS’ MOTION TO DISMISS

       This action arises from plaintiff Verna Kearney’s claims that defendants City of

Bridgeport Police Department, Chief Bryan Norwood and Lieutenant David Daniels (1)

discriminated against her on the basis of her race, color and gender by subjecting her to

a hostile work environment in violation of Title VII of the Civil Rights Act of 1964 (“Title

VII”); (2) retaliated against her for opposing discriminatory practices; (3) discriminated

against her in violation of the Equal Protection Clause of the Fourteenth Amendment to

the federal Constitution; and (4) discriminated against her in violation of the Connecticut

Fair Employment Practices Act (“CFEPA”), Conn. Gen. Stat. § 46a-60(a)(3)(4). Now

pending before the Court is defendant’s Motion to Dismiss (Doc. #28).

       The Court has jurisdiction over plaintiff’s claims pursuant to 28 U.S.C. § 1331 as

to plaintiff’s federal law claims and pursuant to 28 U.S.C. § 1367 as to plaintiff’s state

law claim.




                                              1
     Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08    Page 2 of 13




                                     BACKGROUND

       For purposes of ruling on a motion to dismiss, the Court accepts all allegations of

the complaint as true.1

       Plaintiff is an African-American female residing in the state of Connecticut. She

began working for defendant City of Bridgeport Police Department as a police officer in

February 1997 as a routine patrol officer. She also served as an instructor at the

Bridgeport Police Academy and as booking officer at the Bridgeport Jail.

       Defendant Norwood, at all relevant times, was Chief of Police of the City of

Bridgeport Police Department. Defendant Daniels was, at all relevant times, plaintiff’s

immediate supervisor. Defendant Police Department was, at all relevant times, an

employer with more than 15 employees.

       In March 2001, plaintiff was approached by Captain Radzimirski to direct the

Seniors’ Program. She was given the title of Director of CARES/TRIAD. Directing the

program became a full-time position for plaintiff, and under her leadership, the program

grew. During her time as director, plaintiff’s performance evaluations were excellent.

       On or about August 2006, defendant Daniels informed plaintiff that she would be



       1
               Plaintiff has submitted exhibits and evidence with her opposition to
defendants’ motion to supplement her complaint. Because extrinsic evidence outside
the complaint is inadmissible in response to a motion to dismiss under Federal Rule of
Civil Procedure 12(b)(6), the Court has disregarded this evidence. See Robinson v.
Gov't of Malay., 269 F.3d 133, 141 n.6 (2d Cir. 2001) (“A district court ‘may’ consult
evidence to decide a Rule 12(b)(1) motion in contrast with a Rule 12(b)(6) motion to
dismiss for failure to state a claim upon which relief can be granted, where it may not.”);
Samuels v. Air Transp. Local 504, 992 F.2d 12, 15 (2d Cir. 1993) (On a Rule 12(b)(6)
motion to dismiss, “only the facts alleged in the pleadings, documents attached as
exhibits or incorporated by reference in the pleadings and matters of which judicial
notice may be taken are considered.”).

                                             2
     Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08     Page 3 of 13




reassigned to work as a School Resource Officer (“SRO”) three days per week, but that

she would remain at the Seniors’ Program for two days per week. Daniels told plaintiff

that the reason for this change was that he needed additional resources and was

redeploying several officers. Specifically, he needed police officers to do less

community work and more traditional police work. In response, plaintiff filed a written

discrimination complaint with defendant, alleging that she had been discriminated

against based on her race.

       On September 12, 2006, a group of seniors approached Bridgeport Mayor John

Fabrizi to express their disappointment at plaintiff’s removal from the program. Mayor

Fabrizi indicated that he had confidence in defendant Norwood’s recommendation.

       In or about August and September 2006, plaintiff learned that a Hispanic male

would be replacing her. On October 10, 2006, she learned that Officer Nick Ortiz would

officially be replacing her and be responsible for the Seniors’ Program.

       Plaintiff claims that the director of the Seniors’ Program position was more

prestigious than that of an SRO. Plaintiff also alleges that she has fulfilled the

requirements to be director while Officer Ortiz does not.

       Plaintiff further contends that she became humiliated with how she was treated

by Daniels and his superiors for opposing what she believed was employment

discrimination. Further, she argues that Daniels made her work environment hostile.

       On October 4, 2006, plaintiff wrote to Daniels and Sergeant Meekins, with copies

to Mayor Fabrizi and Norwood, that she believed that she was being discriminated

against based on her race, color and gender. On October 11, 2006, Daniels informed

plaintiff that she was being transferred back to “Patrol” and removed from her director

                                             3
      Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08     Page 4 of 13




position.

        Plaintiff argues that while she served as director, she accrued compensatory

time. When Ortiz took over, however, he was paid overtime pay instead of

compensatory time.

        Plaintiff asserts that she has exhausted the requisite administrative remedies

prior to filing suit.

                                       DISCUSSION

        The function of a motion to dismiss is “merely to assess the legal feasibility of the

complaint, not to assay the weight of the evidence which might be offered in support

thereof.” Ryder Energy Distribution v. Merrill Lynch Commodities, Inc., 748 F.2d 774,

779 (2d Cir. 1984). When deciding a motion to dismiss, the court must accept all

well-pleaded allegations as true and draw all reasonable inferences in favor of the

pleader. Hishon v. King, 467 U.S. 69, 73 (1984). The complaint must contain the

grounds upon which the claim rests through factual allegations sufficient “to raise a right

to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1965

(2007). A plaintiff is obliged to amplify a claim with some factual allegations in those

contexts where such amplification is needed to render the claim plausible. Iqbal v.

Hasty, 490 F.3d 143 (2d Cir. 2007) (applying flexible "plausibility standard" to Rule 8

pleading).

I.      Violation of the Title VII

        Defendants seek dismissal of count I on the grounds that plaintiff has failed to

allege any set of facts that support a claim under Title VII and that plaintiff has failed to



                                              4
      Case 3:07-cv-01251-WWE          Document 36        Filed 07/30/08       Page 5 of 13




describe an adverse employment action. Count I of the complaint alleges that plaintiff’s

rights under Title VII were violated by the creation of a hostile work environment and the

transfer of plaintiff as retaliation for opposing discriminatory practices.

       Title VII provides that “[i]t shall be an unlawful employment practice for an

employer ... to discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual's race, color,

religion, sex, or national origin....” 42 U.S.C. § 2000e-2(a)(1).

       To state a claim for hostile work environment under Title VII, plaintiff must plead

a set of facts that would tend to show a course of conduct “(1) that is objectively severe

or pervasive – that is, if it creates an environment that a reasonable person would find

hostile or abusive..., (2) that the plaintiff subjectively perceives as hostile or abusive...,

and (3) that creates such an environment because of plaintiff’s sex [or race]....”

Gregory v. Daly, 243 F.3d 687, 691-692 (2d Cir. 2001). Whether a work environment is

hostile should be judged on the totality of the circumstances. See Harris v. Forklift Sys.,

Inc., 510 U.S. 17, 23 (1993). Specifically, the court may examine “(1) the frequency of

the discriminatory conduct; (2) its severity; (3) whether it is threatening and humiliating,

or a mere offensive utterance; and (4) whether it unreasonably interferes with an

employee’s work performance.” Patane v. Clark, 508 F.3d 106, 113 (2d Cir. 2007). To

defeat dismissal under Rule 12(b)(6), “plaintiff need only plead facts sufficient to

support the conclusion that she was faced with harassment ... of such quality or

quantity that a reasonable employee would find the conditions of her employment

altered for the worse.” Id. at 113. The Court of Appeals for the Second Circuit has

“cautioned against setting the bar too high” for the plaintiff. Terry v. Ashcroft, 336 F.3d

                                               5
      Case 3:07-cv-01251-WWE            Document 36      Filed 07/30/08     Page 6 of 13




128, 148 (2d Cir. 2003).

         In the instant case, plaintiff’s hostile environment allegations are limited to one

conclusory statement that defendant Daniels made plaintiff’s work environment hostile

when she sought clarification as to why she was being transferred from the Seniors’

Program to the role of SRO. This allegation fails to meet the standard necessary to

defeat a motion to dismiss. Tarshis v. Riese Org., 211 F.3d 30, 35 (2d Cir. 2000)

(“[B]ald assertions and conclusions of law will not suffice to state a claim.”). In addition,

this statement fails to meet the frequency standard and makes no connection to

plaintiff’s gender or race. Dismissal is therefore appropriate on plaintiff’s claim for a

hostile work environment.

         Plaintiff also alleges that she was retaliated against based on her October 4,

2006 letter to defendants in which she claimed that she was discriminated against

based on her race, color, gender and age and that such retaliation violated her rights

under Title VII.

         In order to establish a retaliation claim under Title VII, plaintiff must show “(1)

participation in a protected activity known to the defendant; (2) an employment action

disadvantaging the plaintiff; and (3) a causal connection between the protected activity

and the adverse employment action.” Feingold v. New York, 366 F.3d 138, 156 (2d Cir.

2004).

         Plaintiff alleges that her October 4 letter was a protected activity and that the

employment action that disadvantaged her was her transfer from the director position.

The October 4 letter meets the first prong insofar as plaintiff alleges conduct that is

proscribed by Title VII. The second prong is met by the removal of plaintiff from, as she

                                                6
      Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08     Page 7 of 13




claims, a more coveted and prestigious position of director of the Seniors’ Program to

being a patrol officer. See De La Cruz v. New York City Human Resources Admin.

Dep’t of Social Servs., 82 F.3d 16, 21 (2d Cir. 1996) (finding that transfer of plaintiff to a

less prestigious unit was an adverse employment action even though a “thin”

argument). Finally, plaintiff has established the third prong by the temporal proximity

between the two events. See Feingold, 366 F.3d at 156 (“[T]he requirement that

[plaintiff] show a causal connection between his complaints and his termination is

satisfied by the temporal proximity between the two.”). Dismissal, therefore, is

inappropriate on this count.

II.    Violation of the Fourteenth Amendment to the United States Constitution

       Count II of plaintiff’s complaint is a tangled web of allegations that the individual

defendants violated plaintiff’s Fourteenth Amendment rights guaranteed by 42 U.S.C.

§§ 1981 and 1983. Although plaintiff titled count II as under the Equal Protection

Clause, several of her claims assert due process violations.

       A.     Contract Claims

       First, plaintiff alleges that defendants Norwood and Daniels interfered with

plaintiff’s right to contract because of her race under the collective bargaining

agreement (“CBA”) in place between plaintiff, her union and the Bridgeport Police

Department. Because there are no allegations in the complaint regarding plaintiff’s

rights under the CBA or how defendants interfered with such rights, dismissal is

appropriate on this charge. The Court, however, will grant plaintiff leave to replead this

charge.



                                              7
      Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08     Page 8 of 13




       B.     First Amendment Claim

       Second, plaintiff alleges that defendants acted in retaliation against plaintiff for

exercising her First Amendment rights. Presumably, these rights are related to her

written complaint of discrimination and the October 4 letter, the only instances of

speech included in the complaint.

       Courts have recognized the rights of government employees as public citizens to

free speech, but have balanced that right with the government’s interest in “promoting

efficient public service by its employees.” Hale v. Mann, 219 F.3d 61, 70 (2d Cir. 2000);

see also Garcetti v. Ceballos, 547 U.S. 410, 423 (2006) (“When an employee speaks

as a citizen addressing a matter of public concern, the First Amendment requires a

delicate balancing of the competing interests surrounding the speech and its

consequences.”). Therefore, in certain instances, the government may regulate and act

against its employees’ speech.

       To establish a claim that she was retaliated against for her speech, plaintiff must

show that (1) the speech at issue was made as a citizen on matters of public concern

rather than as an employee on matters of personal interest; (2) she suffered an adverse

employment action; and (3) the speech was at least a substantial or motivating factor in

the adverse employment action. Johnson v. Ganim, 342 F.3d 105, 112 (2d Cir. 2003).

Speech is in a matter of public concern if relates “to any matter of political, social, or

other concern to the community.” Connick v. Myers, 461 U.S. 138, 146 (1983).

       The Court of Appeals for this circuit has recognized that “[w]hether an

employee's speech addresses a matter of public concern is a question of law for the

court to decide, taking into account the content, form, and context of a given statement

                                              8
     Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08    Page 9 of 13




as revealed by the whole record.” Lewis v. Cowen, 165 F.3d 154, 163 (2d Cir. 1999).

Where the speech is on a matter of personal interest only, the “government officials

should enjoy wide latitude in managing their offices, without intrusive oversight by the

judiciary....” Connick, 461 U.S. at 146. Speech that is meant to air or redress personal

grievances is not protected under the First Amendment as not a matter of public

concern. Lewis, 165 F.3d at 163-64. Because the speech in this case was solely

related to personal, not public, matters, it is not protected by the First Amendment, and

dismissal is appropriate on this charge. See Ruotolo v. City of New York, 514 F.3d 184

(2d Cir. 2008) (affirming dismissal where speech was related to personal grievance).

       C.     Due Process Violation

       Next, plaintiff alleges that she was deprived of her due process rights and her

equal protection rights by her transfer and that such transfer was based on her race

and gender, as evidenced by her replacement by a male Hispanic co-worker. Further,

similarly-situated white and Hispanic employees were not similarly treated. Finally, this

was the result of defendant Police Department’s failure to train and supervise its

employees.

       To the extent that plaintiff makes a claim under the Due Process Clause, such

claim must fail. An employee’s due process rights may be violated only if she has a

property right in his continued employment as determined by an independent source,

such as state law. See Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538 (1985).

While plaintiff alleges that she held a property interest in her continued employment,

she neither provides nor points to any law, case, statute, city charter, contract or

collective bargaining agreement which provides or defines that right. See Levesque v.

                                             9
     Case 3:07-cv-01251-WWE          Document 36     Filed 07/30/08     Page 10 of 13




Town of Vernon, 341 F. Supp. 2d 126 (D. Conn. 2004) (reviewing town charter to

determine employee’s property interests in continuing employment); see also Conn.

Gen. Stat. § 7-474(f) (providing that a collective bargaining agreement supercedes a

municipal charter on certain employment matters). Therefore, dismissal is appropriate

on this claim.

       Further, “assignments and transfers generally do not implicate a protected

property interest for the purposes of due process, unless accompanied by a loss in

pay.” Lynch v. McNamara, 342 F. Supp. 2d 59, 65-66 (D. Conn. 2004); see also

Ferraro v. City of Long Branch, 23 F.3d 803 (3d Cir. 1994) (affirming dismissal of due

process charge because transfer with a loss of responsibilities did not implicate

property right); Huang v. Bd. of Governors, 902 F.2d 1134, 1142 (4th Cir. 1990)

(transfer or interdepartmental demotion, without loss of rank or pay, does not impinge

upon a property interest). Because plaintiff has not alleged any loss in pay or rank,

dismissal is appropriate on plaintiff’s due process challenge.

       D.        Failure to Train or Supervise

       In addition, plaintiff cannot maintain an action against the individual defendants

for failure to train or supervise employees as she has not sufficiently asserted any facts

that would support such a claim.

       E.        Equal Protection Violation

       To the extent that plaintiff asserts a class of one theory insofar as she alleges

that she has been intentionally treated differently from others similarly situated and that

there is no rational basis for the difference in treatment,” Willowbrook v. Olech, 528



                                              10
     Case 3:07-cv-01251-WWE          Document 36        Filed 07/30/08     Page 11 of 13




U.S. 562, 564 (2000), the Supreme Court has recently held that an action based on a

“class of one” theory cannot be maintained in the public employment context. See

Engquist v. Or. Dep't of Agric., 128 S. Ct. 2146 (2008). A “class of one” claim is thus

inappropriate in this case.

       Finally, as to plaintiff’s claims that her equal rights were violated, plaintiff has

sufficiently alleged that she was treated differently on account of her race or gender by

defendant Daniels. To survive a motion to dismiss on an Equal Protection Claim,

plaintiff need only “meet the standard set forth in Fed. R. Civ. P. 8(a), which requires a

‘short and plain statement of the claim showing that the pleader is entitled to relief.’”

Williams v. N.Y. City Hous. Auth., 458 F.3d 67, 71-72 (2d Cir. 2006). Specifically,

plaintiff has sufficiently alleged that she is a black, African-American woman who has

been subject to an adverse employment decision.

       Such claims, however, can go forward under section 1983 only against Daniels

in his individual capacity. Hafer v. Melo, 502 U.S. 21 (1991). To state a claim for relief

under section 1983, plaintiff must allege that defendants, acting under color of state

law, deprived her of a constitutionally or federally protected right. See Lugar v.

Edmondson Oil Co., 457 U.S. 922, 930 (1982); Washington v. James, 782 F.2d 1134,

1138 (2d Cir. 1986). An individual acts under color of state law when he exercises

“some right or privilege created by the State ... or by a person for whom the State is

responsible,” and is “a person who may fairly be said to be a state actor.” Lugar, 457

U.S. at 937. Generally, a public employee acts under color of state law when he acts in

his official capacity or exercises his responsibilities pursuant to state law. See West v.

Atkins, 487 U.S. 42, 50 (1988). Here, there are sufficient allegations in the complaint to

                                              11
       Case 3:07-cv-01251-WWE       Document 36       Filed 07/30/08    Page 12 of 13




set forth a claim under section 1983 as to Daniels.

        As to defendant Norwood, the complaint alleges liability based on a theory

respondeat superior. Liability under section 1983 cannot arise under a theory of

respondeat superior on a defendant who acts solely in a supervisory capacity. See

Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978) (discussing municipal liability).

Plaintiff must allege the supervisor’s personal involvement in the illegal conduct.

Johnson v. Newburgh Enlarged Sch. Dist., 239 F.3d 246, 254 (2d Cir. 2001). As the

Court of Appeals for this Circuit has previously stated:

              “Personal involvement” is not limited to direct participation by
              the supervisor in the challenged conduct, but may also be
              established by evidence of an official’s (1) failure to take
              corrective action after learning of a subordinate's unlawful
              conduct, (2) creation of a policy or custom fostering the
              unlawful conduct, (3) gross negligence in supervising
              subordinates who commit unlawful acts, or (4) deliberate
              indifference to the rights of others by failing to act on
              information regarding the unlawful conduct of subordinates.

Hayut v. State Univ. of N.Y., 352 F.3d 733, 753 (2d Cir. 2003).

        To the extent that plaintiff has alleged any actions by Norwood that violated her

rights, these allegations are based on conclusory statements as well as bald assertions

that cannot defeat a motion to dismiss. Plaintiff’s allegations that there was a policy or

custom against African-American females is unsupported by any other allegation in the

complaint. In addition, there is no allegation that Norwood knew of any of Daniels’

alleged wrongful conduct. Therefore, the motion will be granted as to defendant

Norwood.

III.    Claims under Connecticut Law

        Claims under CFEPA are analyzed in the same manner as those under Title VII.

                                            12
     Case 3:07-cv-01251-WWE          Document 36      Filed 07/30/08    Page 13 of 13




Brittell v. Dep’t of Correction, 247 Conn. 148, 164 (1998). Therefore, plaintiff’s hostile

work environment claim under Conn. Gen. Stat. § 46a-60(a) will be dismissed, but her

retaliation claim can survive.

                                      CONCLUSION

       For the foregoing reasons, defendants’ motion to dismiss (Doc. #28) is

GRANTED in part and DENIED in part. Plaintiff is instructed to amend her complaint

consistent with this ruling within ten days.

       Dated at Bridgeport, Connecticut, this 30th day of July, 2008.


                                                   /s/
                                           Warren W. Eginton
                                           Senior United States District Judge




                                               13
